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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                                               )
  In re:                                                                       )   Case No. 18-32106
                                                                               )
  Erin Energy Corporation, et al.,1                                            )   Chapter 11
                                                                               )
                                         Debtors.                              )   (Jointly Administered)
                                                                               )


      WITNESS AND EXHIBIT LIST OF THE OFFICIAL COMMITTEE OF UNSECURED
         CREDITORS IN CONNECTION WITH THE HEARING ON JUNE 19, 2018
                              [Relates to D.I. 178, 196]

              The Official Committee of Unsecured Creditors (the “Committee”) submits the following

  Witness and Exhibit List for the hearing scheduled on June 19, 2018 at 9:00 a.m. (CDT), in the

  above-styled, jointly administered bankruptcy cases (the “Bankruptcy Cases”) before the

  Honorable Marvin Isgur, United States Bankruptcy Judge, 515 Rusk, Houston, Texas 77002.

                                                     WITNESS LIST

              The Committee may call the following witnesses:

           1. Any witness listed, offered, or called by any other party, including the Debtors.

           2. Any witness required for rebuttal or impeachment.

                                                      EXHIBIT LIST

 Trial                              Description                          Offered   Objection   Admitted      Disposition
Exhibit                                                                                                         After
  No.                                                                                                         Hearing
   1.         Any exhibits listed, designated, or offered by any other
              party.
      2.      Any exhibits necessary for rebuttal.




  1
      The last four digits of Erin Energy Corporation’s federal tax identification number are 9798. The other Debtors
  in these cases are: Erin Energy Limited; Erin Energy Kenya Limited; and Erin Petroleum Nigeria Limited. The
  Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.


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       The Committee reserves the right to modify, amend or supplement this Witness and

Exhibit List at any time. The Committee reserves the right to ask the Court to take judicial

notice of pleadings, transcripts and/or documents filed in or in connection with these Bankruptcy

Cases, to offer rebuttal exhibits, and to supplement or amend this Witness and Exhibit List at any

time prior to the June 19, 2018 Hearing. Designation of any exhibit above does not waive any

objections the Committee may have to any exhibit listed on any other party’s exhibit list.


Dated: June 15, 2018                         PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Steven W. Golden
                                             Jeffrey N. Pomerantz (admitted pro hac vice)
                                             Ira D. Kharasch (admitted pro hac vice)
                                             Jason H. Rosell (admitted pro hac vice)
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                                             Steven W. Golden (TX Bar No. 24099681)
                                             780 Third Avenue, 34th Floor
                                             New York, NY 10017
                                             Telephone: (212) 561-7700

                                             Proposed Counsel for the
                                             Official Committee of Unsecured Creditors


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing has been served
by electronic transmission to all registered ECF users appearing in this case.

Dated: June 15, 2018
       New York, NY                          Steven W. Golden
                                             Steven W. Golden




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